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EXHIBIT G
TO

RESPONSE OF PLAINTIFFS’ STEERING COMMITTEE TO BENCH
MEMORANDUM OF CERTAIN DEFENDANTS

REGARDING CHAPTER 558, FLORIDA STATUTES
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 09-20510-CIV-MCORE

KARIN VICKERS, FELIX MARTINEZ, JENNY
MARTINEZ, JASON SANTIAGO, GENE
RAPHAEL, WALTER NIEMCZURA, and JIM
TARZY, individually, and on behalf of all others
similarly situated,

Plaintiffs,
Vv.

KNAUF GIPS KG, a German Corporation,
KNAUF PLASTERBOARD (TIANJIN) CO.,
LTD., a Chinese limited liability corporation,
KNAUF PLASTERBOARD (WUHU) CO. LTD.,
KNAUF PLASTERBOARD (DONGGUAN) CO.
LTD., BANNER SUPPLY CO., a Florida
corporation, ROTHCHILT INTERNATIONAL
LTD., a foreign corporation, TAYLOR
WOODROW COMMUNITIES AT VASARI,

L.L.C., a Florida corporation, and SOUTH

KENDALL CONSTRUCTION, CORP., a
Florida corporation,

Defendants

/

PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT BANNER
SUPPLY CO.’S MOTION TO STAY, MOTION TO ABATE OR,
ALTERNATIVELY, MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT

I. INTRODUCTION

The representative plaintiffs, Karen Vickers, Felix Martinez, Jenny Martinez, Jason

Santiago, Gene Raphael, Walter Niemczura and Jim Tarzy (hereafter the “Vickers Plaintiffs”)

instituted litigation against the manufacturers of defective drywall, their American suppliers and

the plaintiffs’ homebuilders to address the crisis facing these homeowners whose lives were
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impacted and homes have been damaged through the installation of a defective product
constituting the very walls of their homes. In its motion, Banner Supply Company (“Banner”)
admits that it supplied the allegedly defective drywall in the plaintiffs’ homes. Banner Brf. at 4.
Nevertheless, Banner contends that plaintiffs’ claims are implausible. Banner’s arguments
challenging the legal sufficiency of Plaintiffs’ Amended Complaint range from asserting
inapposite disputes under Florida procedural law (not federal law) to substantive matters involving
disputed matters of fact (matters that the Court must accept as true given the procedural posture of
the case on a motion to dismiss under Rule 12(b)(6)).

Specifically, Banner argues 1) that the matter be stayed pending rulings by other courts in
other cases that do not share an identity of parties; 2) that abatement is appropriate under Chapter
558, Florida Statutes, until such time as Banner determines its response to the statutory notice
plaintiffs provided Banner coincident to the filing of the original complaint; 3) that a more definite
statement be alleged regarding Banner’s activities; 4} that Banner can not as a matter of Florida
law be held strictly liable for structural improvements to real property; 5) that the economic loss
doctrine precludes plaintiffs’ claims despite allegations of loss to other property; 6) that plaintiffs
have not met a purported heightened pleading standard applicable to their claim under the Florida
Deceptive and Unfair Trade Practices Act (“FDUTPA”); 7) that Banner cannot be held liable
under any theory of nuisance despite its admission of supplying plaintiffs with allegedly defective
drywall; 8) that plaintiffs’ allegations are too conclusory to state a claim of unjust enrichment; 9)
that plaintiffs’ claims in equity seeking injunctive relief and medical monitoring are improperly
joined and must be restated (not that plaintiffs have failed to state a claim); and 10) that for certain

Counts, plaintiffs have improperly pleaded an entitlement to attorneys’ fees that should be stricken
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only as to those challenged Counts. Banner’s arguments are misplaced and ineffective.’

‘Although it is Banner’s prerogative to respond to the Amended Complaint by challenging
its legal sufficiency through motions practice, it bears mentioning that despite Banner’s assertion
that the pleading is too vague and ambiguous to be answered, on May 15, 2009, South Kendall
Construction Corporation was able to file an ANSWER and Affirmative Defenses to the Amended
Complaint, and even assert a crossclaim against Banner therein. [Doc. #61].
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For the reasons set forth below, Banner’s motion to stay should be granted on the
alternative grounds that the motion is premature, given the pendency of a motion before the
Judicial Panel on Multidistrict Litigation (““FPML”) to consolidate this and other pending federal
litigation involving the defendants’ allegedly defective drywall. That until the determination of
whether consolidation is appropriate, and, if so, whether a master class action complaint is
warranted so as to properly align all of the myriad parties and claims, logic dictates that staying the
matter offers the highest judicial economy.

Should the Court decide not to stay the matter, Bamner’s alternative motions for abatement
and dismissal are without merit and should be denied.

Il. FACTUAL BACKGROUND

This is a class action of significant local, national and international importance. The
plaintiffs seek to represent a class of “all owners and residents of residential homes in the State of
Florida contaming drywall manufactured, sold, distributed, or supplied by Defendants that emits
excessive levels of sulfur.” Amended Complaint 4125 [hereafter “A.Comp.{__”]. Due to the
breadth and scope of the problem caused by the defective drywall at issue scores of lawsuits have
been spawned across the country. Presently, this case and other similar actions are the subject of
a motion to consolidate scheduled for a hearing before the JPML on May 27, 2009. See Inre
Chinese-Manufactured Drywall Products Liability Litigation, MDL No. 2047, Notice of Hearing

Session (J.P.M.L. April 23, 2009).

* Available at http://www.jpml.uscourts.gov/HearingOrder5-27-09. pdf.
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The essence of the Vickers Plaintiffs’ claims is that the drywall supplied by Banner and
used in the homes of Plaintiffs and the Plaintiff Class Members is inherently defective because it
emits various sulfide gases and/or other chemicals through “off-gassing” that creates noxious,
“rotten egg-like” odors, and causes corrosion (“the Defect”) of air-conditioner and refrigerator
coils, microwaves, faucets, utensils, copper tubing, electrical wiring, computer wiring, personal
property, electronic appliances, and other metal surfaces and household items (“Other Property”).
A.Comp.{]1.

This Defect is latent and existed in Defendants’ drywall at the time of installation
regardless of the way the product was installed, maintained, and/or painted. There is no repair
that will correct the Defect. A.Comp. 2.

As aresult of each of the Defendants’ conduct, Plaintiffs and Class Members have incurred
or will incur tens of thousands of dollars in damages including, but not limited to:
repair/replacement of homes, Other Property, any materials contaminated or corroded by the
drywall as a result of “off-gassing,” incidental and consequential damages and equitable relief,
including medical monitoring. A.Comp. 73-4, 122-123.

Defendant Banner is responsible for the Plaintiffs’ damages. Banner exported, imported,
distributed, delivered, supplied, inspected, marketed, and/or sold defective drywall in the state of
Florida. Directly or indirectly through agents, and affiliates, Defendant Banner Supply’s acts or
omissions related to defective Drywall have injured Plaintiffs and Class Members. A.Comp. 70.

Banner expressly admits to this conduct in its moving papers. Specifically, Banner
avOws:

Banner is but a mere supplier in a chain of merchants who

distributed the allegedly defective drywall originally manufactured
in China.
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Banner Brf. at 4.

As a merchant in the chain of supply, the Amended Complaint articulates the ways in
which Banner is legally responsible for its conduct and the damage caused by the product it sold.
The Amended Complaint asserts claims specific to Banner under Strict Liability (Count IV); the
FDUTPA (Count V); Private Nuisance (Count XI); Unjust Enrichment (XID); and for Equitable
and Injunctive relief and Medical Monitoring (Count XIV). Banner challenges each and every
aspect of the Amended Complaint and all five (5) counts asserted against it. As explained below,
Banner’s arguments are without merit.

lil ARGUMENT
A. The Motion to Stay Should Be Granted Only Because this Action Is Likely to
be Consolidated into an MDL, Where a Master Class Action Complaint Will
be Employed that Will Likely Avoid Most of the Issues presented by the
Instant Motion

Relying upon Florida state law precedent addressing the procedure of staying prior-filed
actions, Banner argues that this case should be stayed because of actions pending in foreign
jurisdictions. As a diversity action, procedural issues faced by the Court are generally speaking a
matter of federal law, not state law as Banner suggests. See Burke v. Smith, 252 F.3d 1260, 1265
(11" Cir. 2001); Hanna v. Plumer, 380 U.S. 460, 465 (1965). Of the three actions referenced by
Banner, the Burrus action was dismissed by this Court on March 10, 2009;7 and the other two
cases were either filed in the Middle District of Florida (4i/en) or Miami-Dade Circuit Court

(Harrell). Neither of the pending actions share an identity of parties or class definitions with this

case. Accordingly, the substantial similarity asserted by Banner is absent.

3See PACER Docket Report, Docket #9 (S.D.Fla. March 10, 2009)(Moore, J.).
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Notwithstanding the disparity between the actions referenced by Banner and the present
case, the Vicker Plaintiffs agree with Banner that a stay of this action is appropriate. Whereas
Banner asserts that a stay should be imposed to await the outcome of the Allen and Harrell actions
(a point with which plaintiffs disagree), Plaintiffs recognize that judicial economy will be realized
if a stay is imposed until such time as the Judicial Panel on Multidistrict Litigation determines
whether and where an MDL regarding defective drywall should be centralized. [fan MDL is
formed, the transferee court would likely require that the pleadings be streamlined through the use
ofa master class action complaint. Should such a procedural administrative device be employed,"
then much of the bases for Banner’s motion will be negated. Additional pleadings addressing the
alignment of the parties is likely to occur avoiding much of Banner’s current challenges to the
sufficiency of the pleadings. Further, the focus of the transferee court will likely be on one class
action, not several, making resolution of the class issue in the MDL an appropriate procedural
determination to await.°

Accordingly, for the alternative reasons set forth above, a stay should be temporarily

‘See Inre Propulsid Products Liability Litigation, 208 F.R.D. 133, 141 (E.D.La.
2002)(“Master complaints are often used in complex litigation,although they are not specifically
mentioned in either the Federal Rules of Civil Procedure or in any federal statute.”),

Absent a judgment or other similar advanced proceeding by a state court, it would not be
appropriate for a federal court to refrain from administering a class action simply because a similar
class action is proceeding concurrently in a state forum. See Owen v. Labor Ready Inc., 146
Fed. Appx. 139, 141-42 (9" Cir. 2005)(District court abused its discretion in granting stay of
consolidated class actions brought by employees against employer, alleging failure to pay
overtime compensation in violation of Fair Labor Standards Act (FLSA), under Colorado River
doctrine, where exceptional circumstances did not exist warranting surrender of federal court
jurisdiction to concurrent state litigation.). Federal courts are usually statutorily obligated to
exercise the jurisdiction that Congress has bestowed upon them. See Western Auto Supply Co. v.
Anderson, 610 F.2d 1126, 1127 Gd Cir.1979).
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imposed upon this and other related actions.°

°To further address this issue, the Vickers Plaintiffs have separately filed an Omnibus
Motion for Extension of Time for the Parties to Hold a Scheduling Conference and Related Case
Management Relief for several related actions filed by the undersigned counsel.
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Banner’s Motion to Abate is Moot

Under Florida Statues section 558.003”, if a claimant files an action claiming a
construction defect before complying with the notice requirements, a court must abate the action.
Plaintiffs do not disagree with the state of Florida law on this matter. Nonetheless, as set forth in
Banner’s motion to abate, plaintiffs provided notice to Banner on March 3, 2009. Consequently,
the 60 day period for plaintiffs to refrain from proceeding with this action expired no later than
May 4, 2009. From that day forward, plaintiffs were permitted to proceed with their claim.
Consequently, Banner’s motion to abate (which was filed after the abatement period had already
expired) must be denied.

Plaintiffs Have Well Articulated Their Claims Under The Notice Pleading Standard of the
Federal Rules of Civil Procedure

"Florida Statues §558.003 provides as follows:

Action; compliance—A claimant may not file an action subject to
this chapter without first complying with the requirements of this
chapter. Ifa claimant files an action alleging a construction defect
without first complying with the requirements of this chapter, on
timely motion by a party to the action the court shall abate the
action, without prejudice, and the action may not proceed until the
claimant has complied with such requirements.
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Banner feigns an inability to understand the allegations of the Amended Complaint.
Banner is essentially challenging the notice pleading standards applicable to all federal
complaints. Fed.R.Civ.P. 8(a)(2) requires only “a short and plain statement of the claim showing -
that the pleader is entitled to relief.” “Specific facts are not necessary; the statement need only
give the defendant fair notice of what the claim is and the grounds upon which it rests.” Erickson v.
Pardus, 127 S.Ct. 2197, 2200 (U.S. 2007)(citations omitted). Yet, Banner contends that after 281
separate paragraphs, spanning 65 pages, with Five Counts addressed either specifically to Banner
or all the defendants (identified above), the Amended Complaint should be even more prolix, more
verbose and more periphrastic as to Banner’s role in the litigation. See Banner Brf. at 10-13,
citing Fed.R.Civ.P. 10(b) and 12(e).

Banner’s Motion to Dismiss directly contradicts its counterfeit lapse in comprehension.®
Therein, the defendant had no trouble piercing through the factual assertions and claims directed
against it in the Amended Complaint. In fact, Banner admits to its essential role in this litigation
as a “supplier in a chain of merchants who distributed the allegedly defective drywall originally

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manufactured in China.” Banner Brf. at 4. Banner’s motion is proof that Banner is capable of

understanding and framing a response to the pleading after all, Another defendant has been able

*Banner’s spurious accusation that the Amended Complaint is a “shot gun” complaint is
utterly without foundation or support. “The typical shotgun complaint contains several counts,
each one incorporating by reference the allegations of its predecessors, leading to a situation where
most of the counts (i.e., all but the first) contain irrelevant factual allegations and legal
conclusions.” Strategic Income Fund, L.L.C. v, Spear, Leeds & Kellogg Corp., 305 F.3d 1293,
1295 (11" Cir. 2002). In this case, the Amended Complaint contains 281 paragraphs and
fourteen Counts, NONE of which incorporate by reference every paragraph that precedes it,
Compare id. Banner’s factual contentions on this point are devoid of the evidentiary support
required by Fed.R.Civ.P. 11(b)(3). As its arguments are colored by fiction at best, or falsehoods
at worst, they should be rejected outright.

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to answer the Amended Complaint.

As the legal theories of Plaintiffs’ claims revolve about the simple fact that Banner suppled
the drywall in plaintiffs’ homes, which fact Banner readily concedes, there is no reason for yet
another round of pleading. The present pleading is sufficient. Discovery should be permitted to
proceed to flesh out any of the other disputes Banner raises. Our Jurisprudence of notice pleading
long ago rejected the common law pleading battles now espoused by Banner that harken back to
Charles Dickens’ Bleak House. Accordingly, Banner’s challenges to the sufficiency of the
factual allegations of the Amended Complaint should be denied.

D. Plaintiffs Have Stated a Claim Under Florida Law for Strict Liability (Count
IV)

In 1976, the Supreme Court of Florida recognized and adopted §402A of the Restatement

(Second) of Torts. See West v. Caterpillar Tractor Co., 336 8.2d 80 (Fla. 1976). Since then,
strict liability has become a cornerstone of Florida law. As the Court in the West noted, “Strict
liability should be imposed only when a product the manufacturer places on the market, knowing
that it is to be used without inspection for defects, proves to have a defect that causes injury to
human being.” Jd. at 86. Over time, Florida’s strict liability doctrine has been expanded “to
others in the distributive chain including retailers, wholesalers, and distributors.” Plaza v. Fisher
Development, Inc., 971 $.2d 918, 920 (Fla. 3d D.C.A. 2007).

Banner relies upon the Plaza decision to excuse itself from liability under the strict liability
doctrine. Banner relies on the seemingly exculpatory observation by the Plaza court, “that
principles of strict liability are not applicable to structural improvements to real property.” Plaza,
971 S.2d at 919. Banner argues that the defective drywall is no longer a product but a structural

improvement to real property and therefore outside the doctrine of strict liability. Banner’s

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arguments, however, overlook a significant exception to the structural improvement “carve out”
from the doctrine of strict liability.

In Jackson v. L.4.W. Contracting Corp., 481 $.2d 1290 (Fla. 5" D.C.A. 1986), the court
recognized an exception to the rule that strict liability does not apply to improvements to real
property. In that case, the contractor had repaired, re-coated and re-stripped a private road on
which the plaintiffs were involved in a car accident. ‘The court recognized the carve out of the
strict liability doctrine for improvements to real property but articulated the following exception:

Of course, this principle is inapplicable where the injuries result not

from the real property as improved by the alleged defective product

but directly from a defective product manufactured by defendant

which product may have itself been incorporated into the

improvement of the realty before the injury from the product

occurred,
fd. at 1292, See also Federal Insurance Co. v. Bonded Lightening Protection Systems, Inc., 2008
WL 5111260, *5 (S.D.Fla. Dec. 3, 2008)(Marra, J.)(observing that Florida law recognizes an
exception to the rule that strict liability does not apply to improvements to real property); 41A
Florida Jurisprudence 2d, Products Liability §27 (2009)(“The concept of strict liability does not
apply to structural improvements to real property. However, this principle is inapplicable where
the injury results not from the real property as improved by the alleged defective product but
directly from a defective product manufactured by the defendant, which product may have itself
been incorporated into the improvement of the realty before the injury from the product
occurred.”).

‘The exception to the carve out of strict liability for improvements to real property was

approached by the Florida Supreme Court in Edward M. Chadbourne, Inc. v. Vaughn, 491 8.2d

551 (Fla. 1986). In that case, the Vaughns were involved in a vehicular accident when their car

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encountered a drop-off in the pavement causing Mrs. Vaughn to lose control of the vehicle. The
Vaughns had sued Chadbourne under negligence, warranty and strict liability for its role in
constructing the road upon which the Vaughn’s vehicle was traveling.’ The Supreme Court
characterized the parties’ arguments as follows:

Vaughn argues that Chadbourne manufactured paving materials,

which later happened to be incorporated into a roadway.

Chadbourne, on the other hand, argues that it did not sell paving

materials, but rather delivered a constructed road. It was the road

that was being used and not the raw material; no injury was caused
by paving material, but was incurred while using the road.

Id. at 553.

The Supreme Court of Florida accepted Chadbourne’s argument that the public road was
not a product for purposes of the application of strict liability doctrine. In so doing, however, the
Supreme Court identified examples of improvements to real property that could be the subject of a

strict liability claim. In particular, the Supreme Court of Florida stated:

*The First District Court of Appeal, similarly recognized this exception to the carve out of
the strict liability doctrine. In its premonitory ruling, the Court of Appeals held:

While no Florida case has explicitly discussed whether a product
first manufactured and then incorporated into an improvement into
real property falls under Section 402(a) coverage, Hardin, Halpryn
& Gory imply that the manufacturer of such a product can be held
strictly liability.

Vaughn v. Edward M. Chadbourne, Inc., 462 So.2d 512, 515 (Fla. 1 D.C.A. 1985), vacated on
other grounds, 491 So.2d 551 (Fla. 1986).

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This is not to say that Chadbourne would in every sense or instance

be immune to a strict liability suit for the manufacturer and sale of

asphalt mix or even a roadway. While we do not today decide

these issues, assume, for instance, that Chadbourne sold bags of

asphalt mix in hardware or home repair stores and that the Vaughns

purchased a bag of mix, and, though they used it consistent with its

directions, they nevertheless were burned by the mix or overcome

by fumes. Jn such a situation it might be possible to argue

successfully that the asphalt is a product subject to strict liability

standards, Similarly, assume Chadbourne held itself out to the

public as a paver of private roadways. If Vaughn had Chadbourne

prepare a pave a private roadway or driveway that later disintegrated

during a rainstorm, with the remains of the road subsequently

entering and polluting Vaughn’s water supply, a strict liability

action might also be proper.
Id. at 553 n. 1 (emphasis added). The hypothetical proposed by the Florida Supreme Court is a
paradigm example of the situation presented by the Banner-supplied Chinese drywall at issue here.
Defendant Banner admits to have supplied allegedly defective drywall that was installed in class
members’ homes. Unlike the paving material at issue in Chadbourne, due to the latent defect
within the drywall, class members have been “overcome by fumes.” The fumes from the
defective drywall (not plaintiffs’ homes) have seriously damaged other property in the class
members’ homes (such as air conditioning coils and other appliances) and necessitated a medical
monitoring program. As such, Banner should be subject to strict liability standards for supplying
the latently defective drywall that became incorporated into plaintiffs’ homes. See Adobe
Building Centers, Inc. v. Reynolds, 403 So.2d 1033 (Fla. 4h D.C.A.), review denied, 411 So.2d 380
(Fla. 1981}(applying strict liability to supplier of defective stucco material that was applied to
residential homes).

As the Vickers plaintiffs’ strict liability theory fits precisely within the exception to the

carve out of the strict liability doctrine that Banner relies upon, Banner’s exculpatory argument

fails as a matter of law. Its motion to dismiss on these grounds is without merit and should be

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denied.
E. Plaintiffs’ Strict Liability Claim is not Barred by the Economic Loss Rule
Because Plaintiffs Have AHeged Some Modicum of Physical Injury and
Damage Caused to Other Property by Banner’s Defective Drywall

Pursuant to Fed.R.Civ.P. 12(b)(6), Banner contends that the Vickers plaintiffs have also
failed to state a strict liability claim on the grounds that the economic loss doctrine precludes any
recovery. Banner’s argument is premised upon a distorted misunderstanding of the factual
allegations of the complaint -- that the plaintiffs have alleged no physical injury or damage to other
property caused by the defective drywall. Plaintiffs, however, have precisely alleged exactly
such contrary facts. And, on a motion to dismiss, Banner has abandoned its right to challenge
such facts by admitting them to be true along with any reasonable related inferences to be drawn
therefrom. See Leib v. Hillsborough County Public Transp. Com'n, 558 F.3d 1301, 1305 0 ym
Cir. 2009); Erickson, 127 S.Ct. at 2200. Without its flawed anchoring premise, Banner’s
argument simply dissolves and floats away.

The “economic loss doctrine” is a judicially created doctrine that was originally adopted by
the Supreme Court of Florida in its seminal opinion of Florida Power & Light Co. v. Westinghouse
Elee, Co., 510 So.2d 899 (Fla. 1987). The economic loss doctrine was recently fully re-examined
in Indemnity Ins. Co. of North America v. American Aviation, Inc., 891 So.2d 532, 536 (Fla. 2004)
on certified questions from the United States Court of Appeals for the Eleventh Circuit due to
“confusion about the scope of this doctrine.” See Indemnity Ins. Co. of North America v.
American Aviation, Inc., 344 F.3d 1136 (11™ Cir. 2003). Therein, the Supreme Court of Florida
held that the doctrine “bars a negligence action to recover solely economic damages only in
circumstances where the parties are either in contractual privity or the defendant is a manufacturer
or distributor of a product, and no established exception to the application of the rule applies.”

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Id., 891 So.2d at 534. As to the latter application, the Court found the doctrine germane only in
instances when a defective product does cause damages to the product but causes no personal
injury or damage to other property. /d.

Omitting any reference to Indemnity Ins. or subsequent Supreme Court of Florida cases,
Banner focuses principally on the much criticized decision of Casa Clara Condominium Ass’n v.
Charley Toppino and Sons, Inc., 620 So0.2d 1244 (Fla. 1993)(a 4-3 decision, accompanied by a
well reasoned dissent).. Therein, the plaintiff homeowner sought to enhance its contractual claims
by asserting negligence theories against a builder supplier of defective concrete. The Supreme
Court of Florida found that “[t]he homeowners are seeking purely economic damages — no one has
sustained any physical injuries and no property, other than the structures built with [defendant’s]
concrete, has sustained any damage.” Jd. at 1246. Against these facts, the court applied the
economic loss rule, “which prohibits tort recovery when a product damages itself, causing
economic loss, but does not cause personal injury or damage to any property other than itself.” Id.
The court further rejected the plaintiffs arguments that characterized their loss into components of
ihe home, as opposed to the home in its entirety. Jd at 1247.'° This identical reasoning was
adopted by the court in Fishman v. Boldt, 666 So.2d 273 (Fla. 4° D.C.A, 1996), the only other

authority relied upon by Banner,

The majority held: “Generally, house buyers have little or no interest in how or where
the individual components of a house are obtained. They are content to let the builder produce
the finished product, £¢.,a house. These homeowners bought finished products--dwellings--not
the individual components of those dwellings. They bargained for the finished products, not
their various components. The concrete became an integral part of the finished product and,
thus, did not injure "other" property.” /d.

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Following Casa Clara, the Supreme Court of Florida had another opportunity to revisit the
economic loss doctrine in a case where a lessee sued its lessor for damages caused to computers
stored in the leased premises during renovations conducted by the lessor. See Comptech Intern.,
Inc. v. Milam Commerce Park, Ltd., 753 So.2d 1219 (Fla.1999). Therein the Supreme Court
criticized the Casa Clara opinion and other decisions as presenting “the danger in an unprincipled
extension of the rule.” /d. at 1225. The Court was especially critical of the Casa Clara court’s
expansive interpretation of the term “other property” and suggested that “the economic loss rule
cannot be used as a barrier to legitimate causes of action.” Jd. at 1225-26. With this backdrop in
place, the court determined that the computers were “other property” and found the plaintiffs’
claim fit within the exception to the economic loss doctrine.

Most recently, in the Indemnity Ins. case, the Supreme Court of Florida reaffirmed the
economic loss doctrine with the following caveat: “However, we expressly note that the "other
property” exception to the products liability economic loss rule remains viable.” Zndemnity Ins.,
891 So.2d at 543. In so doing, the Court gave no credence to Casa Clara. Instead, it referenced
Comptech, supra, and Southland Construction, Inc, v. Richeson Corp., 642 So.2d 5 (Fla. 5@
D.C.A. 1994), a case at odds with Casa Clara’s interpretation of other property. The Indemnity
Ins. Court described the facts of Southland thus: “concluding that "other structures" not involved
in the building project that were damaged by the failure of the retaining wall, i.c., the adjoining
pool deck and a different wall, were other property.”

In contrast to the facts asserted by the plaintiffs in Casa Clara or Fishman, the Vickers
plaintiffs, in line with Comptech and Southland, have asserted far more extensive damage to other
property in plaintiffs’ homes. The fumes emitted from the defective drywall supplied by Banner
corrodes metal not just in the tubing, wiring and receptacles of plaintiffs’ homes (which

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components would fall under the Casa Clara rubric but not the Southland rubric), but in the air
conditioner coils outside the homes and other property used inside plaintiffs’ homes (e.g.,
refrigerator coils, microwaves, utensils, computers and electronic appliances such as stereo
equipment and televisions). A.Comp. 41. As the plaintifis have expressly alleged damage to
“other property,” Banner can not be heard to challenge those facts as being a “clever” contrivance.
Banner Brf. at 17.. Banner has admitted these allegations to be true.'' Also, Banner’s effort to
shift its burden on a motion to dismiss to the plaintiffs by contending that plaintiffs should have
alleged that they purchased theit stereos, televisions, microwaves, refrigerators, etc.,
independently from the purchase of their homes is specious. See Comptech, 753 So.2d at 1226,
citing, Saratoga Fishing Co. v. JM. Martinac & Co., 520 U.S. 875 (1997)."? When viewed in the
best light, such an a priori inference is more than plausible without resort to the imposition of the

heightened pleading obligation Banner seeks to foist upon the plaintiffs.

'! Banner’s argument attempts to extend the Casa Clara component rubric beyond any
realistic limitation. In Casa Clara, the court was attempting to create a self-defined defense
against the unwarranted extension of contractual damages into the tort realm. The court sought to
prohibit a plaintiff from circumventing the contractual relationship by bringing an action in tort.
But the bounds imposed by the Supreme Court of Florida recognized that a tort remedy must be
made available when the supplier of a product breaches the fundamental “duty of reasonable care
[which] thereby encourages citizens to avoid causing physical harm to others.” Casa Clara, 620
So.2d at 1246. Because Casa Clara contemplated tort claims like those evident here, Banner’s
attempted extension of the Casa Clara component rubric is unfounded (both legally and factually).
Indeed, the Supreme Court of Florida has endorsed less restrictive interpretations of “other
property” in cases factually approaching this case. See Indemnity Ins., supra.

The Comptech Court observed: “In Saratoga Fishing, the owner of a fishing boat brought
a products liability action against the builder and designer of the boat and its hydraulic system,
alleging that the system was defectively designed. The boat caught fire and sank, resulting in a loss
of equipment, including an extra skiff, nets, and spare parts, which were added to the boat after it
was originally purchased. The Court found that the boat itself was the “product” and the equipment
added after the manufacturer sold it was “other property.” Thus, the Court held the plaintiff could
recover for physical damage caused by the defective “product” to the “other property.”

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Moreover, plaintiffs have also alleged a physical aspect to the damage caused by the
defective drywall. Plaintiffs have alleged exposure to the sulfide gases emitted from Banner’s
defective drywall, which gases are proven hazardous, dangerous or toxic substances. A.Comp.
4275. This exposure has placed plaintiffs at a signficantly increased risk of contracting a serious
latent disease that may be prevented by timely diagnostic surveillance. A.Comp. {]277, 279.
Banner denies these allegations by disclaiming them, “they [plaintiffs] have failed to allege that
anyone has sustained any physical injury”. Banner Brf. at 16. These alleged facts, however,
must be taken as true. When viewed in their best light, these allegations present a clear exception
to the Casa Clara rubric.

Accordingly, Plaintiffs’ Amended Complaint alleges facts that place this action into the
exception to the economic loss doctrine. Banner’s motion to dismiss for failure to state a claim is
without merit and should be denied.

F., Plaintiffs’ FDUTPA Claim (Count V) Meets the Short and Plain Pleading
Standard That is Applicable to Such a Claim

Banner mistakenly contends that Plaintiffs’ FDUTPA claim are subject to the heightened
pleading standard of Fed.R.Civ.P. 9(b), applicable to claims of fraud. As evident from the
authority relied upon by Banner, Sundance Apartments [, Inc. v. General Electric Capital Corp.,
581 F.Supp.2d 1215 (S.D.Fla. 2008)(Altonaga, J.), only a short and plain statement of the statutory
claim is required. /d. at 1219, citing Fed.R.Civ.P. 8(a)(2). Once again, Banner overreaches.

The Vickers Plaintiffs made specific allegations applicable to Banner in Count V of the
Amended Complaint. Therein, plaintiffs stated that “providing, offering, or distributing of
drywall by [Banner] to Plaintiffs and Class Members is "Trade or Commerce" within the meaning

of section 501.203(8), Florida Statutes.” A.Comp. 197. Plaintiffs further alleged that Banner’s

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“acts and omissions as well as [its] failure to use reasonable care in this matter as alleged in this
Complaint [See Section II, supra at 3-5] equals unconscionable acts or practices, as well as
deceptive and unfair acts or practices in the conduct of Defendants’ trade or commerce pursuant to
section 501.204, Florida Statutes.” A.Comp. (198. Finally, Plaintiffs alleged that the
“unconscionable, illegal, unfair and deceptive acts and practices of Defendants violate the
provisions of Florida's Deceptive and Unfair Trade Practices Act. Plaintiffs and Class Members
have suffered actual damage for which they are entitled to relief pursuant to section 501.211(2),
Florida Statutes” A.Comp. §198.

There is nothing vague or speculative about these allegations. Rather, they provide a short
and plain statement of the claim against Banner as required by Rule. Thus, the motion to dismiss
Count V should be denied.

G. Plaintiffs Have Stated a Claim for Nuisance (Count XID)

Banner challenges plaintiffs’ private nuisance claims based upon authority related to
asbestos and other product liability cases from outside of Florida. See City of Manchester v. Nat'l
Gypsum Co., 637 F.Supp. 646 (D.R.I. 1986); Tioga Public School District #15 v. U.S. Gypsum
Co., 984 F.2d 915 (3 Cir. 1993); Gelman Sciences, Inc. v. Dow Chemical Co., 508 N.W. 2d 142
(Mich. App. 1993); DiCarlo v. Ford Motor Co., 409 N.Y.S.2d 417 (N.Y.A.D. 1978). These
courts denied plaintiffs the right to recover in nuisance for a product that was not in the control or
possession of the defendants when the nuisance occurred.

Plaintiffs have found no controlling case in Florida on this point. The nisi prius court in
Penelas v. Arms Technology, Inc,, 1999 WL 1204353 (Fla. Miami-Dade Cty Cir.Ct. Dec. 13,
1999), however, accepted the rationale of these cases. In Penelas, the Mayor of Miami sued gun

manufacturers and others under various theories, including nuisance. The court dismissed the

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nuisance theory on the grounds that strict hability and negligence supplant nuisance claims for
manufacturers and suppliers of defective products. The Penelas court held:

Finally, the County has failed to provide this Court with any legal
authority supporting a cause of action based on nuisance against the
manufacturer of a product. Public nuisance does not apply to the
design, manufacture, and distribution of a lawful product. A
separate body of law (strict product liability and negligence) has
been developed to apply to the manufacture and design of products.
The public nuisance cases cited by the County are not persuasive
because those cases involve statutory violations which
governmental entitles are entitled to abate, or violations involving a
direct connection to real property owned or operated by the
government entity. The County provided no cases which support
such a right against manufacturers of products. In fact, the case law,
albeit outside of Florida, is to the contrary. See, Tioga Public School
Dist. v. United States Gypsum Co., 984 F.2d 915 (8th Cir.1993);
Bloomington v. Westinghouse Elec. Corp., 891 F.2d 611 (7th
Cir.1989). Furthermore, a party cannot be held liable for nuisance
absent control of the activity which creates the nuisance. Here, the
nuisance is the criminal or reckless misuse of firearms by third
parties who are beyond the control of the defendants. Because
defendants have no ability to control the misconduct of these third
parties, nuisance does not apply for that reason as well.

Penelas, 1999 WL 1204353 at *4, In essence, the logic of the Penelas court would allow blanket
immunity to any manufacturer of a product from a claim sounding in nuisance.'? Plaintiffs
submit that the reasoning of the Penelas court and the other cases relied upon by Banner do not
accurately reflect Florida law.

For starters, manufactured items can be a nuisance if they significantly and unreasonably
interfere with public rights and interests. See, e.g., Bruce v. Malloy, 7 So. 2d 123, 126 (Fla. 1942)

("perfectly lawful acts of manufacture" can be nuisance if put to illegal use).

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Further, sic ufere tuo ut alienum non laedas (every person should so use his own property
as not to injure that of another) has long been the law in Florida. See Jones v. Trawick, 75 So.2d
785, 787 (Fla. 1954). Adjunct to this maxim is the common law understanding that anything that
renders the ordinary use of one’s property or its physical occupation uncomfortable is a nuisance.
id. And Florida recognizes traditional common law causes of action unless displaced by
legislative enactments. See Kitchen v. K-Mart Corp., 697 So.2d 1200, 1207 (Fla. 1997),

Where no pronouncement of the common law is readily available, the Supreme Court of
Florida has often referred to or adopted the Restatement (Second) of Torts for its source of
traditional common law causes of action. See, e.g., Kitchen, supra (adopting §390 re: negligent
entrustment); West, supra (adopting §402A re: strict liability). In the context of liability for
nuisance by a supplier such as Banner, §834 of the Restatement (Second) of Torts recognizes the
common law responsibility of a person whose activities cause interference with others’ properties
even when that person no longer has control of the instrument.

Section 834 states:

Persons Carrying on an Activity

One is subject to liability for a nuisance caused by an activity, not
only when he carries onthe activity but also when he participates to
a substantial extent in carrying it on.

Restatement (Second) of Torts §834 (1979).

Comment e to §834 further explains the continuing liability for harmful physical
conditions:

Activities that create a physical condition differ from other activities
in that they may cause an invasion of another's interest in the use
and enjoyment of land after the activity itself ceases. When the

invasion continues only so long as the activity is carried on, a person
who ceases to have any part in the activity is not liable for the

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continuance of the invasion by others. But if the activity has resulted
in the creation of a physical condition that is of itself harmful after
the activity that created it has ceased, a person who carried on the
activity that created the condition or who participated to a
substantial extent in the activity is subject to the liability for a
nuisance, for the continuing harm. His active conduct has been a
substantial factor in creating the harmful condition and so long as
his condition continues the harm is traceable to him. This is true
even though he is no longer in a position to abate the condition and
to stop the harm, If he creates the condition upon land in his
possession and thereafter sells or leases it to another, he is subject
to liability for invasions caused by the condition after the sale or
lease as well as for those occurring before. When the vendor or
lessor has created the condition his liability continues until the
vendee or lessee discovers it and has reasonable opportunity to take
effective precautions against it.

Restatement (Second) of Torts §834, comment e (1979)(emphasis added).

The reasoning of Comment e should be adopted here. Manufacturers and suppliers of
products have responsibility to assure consumers that their products do not interfere with
reasonable enjoyment of the consumer’s property. Such reasoning has been adopted by other
jurisdictions. A Wisconsin court has held that a purchaser can state a nuisance claim directly
against a manufacturer. See Northridge Co. vy. WR. Grace & Co., 205 Wis.2d 267, 556 N.W.2d
345 (App.1996) (finding asbestos constituted a nuisance). Applying the longstanding rule that
“one who has erected 2 nuisance will be responsible for its continuance, even after he has parted
with the title and the possession," Lohmiller v. Indian Ford Water-Power Co., 51 Wis. 683, 8 N.W.
601, 602 (1881), the court held that "manufacturers can be liable for a nuisance long after they
relinquish ownership or control over their polluting products." Northridge, 556 N.W.2d at 352.
See also Friends of the Sakonnet v. Dutra, 738 F.Supp. 623, 633-34 (D.R.L. 1990)(former septic
tank owner liable for past discharges).

Without direct guidance from the Supreme Court of Florida and only one nisi? prius court

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decision on point, this Court will have to predict what that high court would decide. See Crowe v.
Coleman, 113 F.3d 1536, 1540 (1 1” Cir, 1997). Since Florida abides by traditional common law
claims, the nuisance theory alleged by the Vickers plaintiffs should be found to state a claim under
Florida law. Defendant’s motion to dismiss should be denied.

i. Plaintiffs Have Adequately Pleaded a Claim for Unjust Enrichment (Count
XI

Banner moves to dismiss Count XIII of Plaintiffs’ Amended Complaint on factual grounds.
Banner acknowledges that plaintiffs have properly asserted the three elements of a claim for unjust
enrichment, i.e., “1) plaintiff has conferred a benefit on the defendant, who has knowledge thereof;
2) defendant voluntarily accepts and retains the benefit conferred; and 3) the circumstances are
such that it would be inequitable for the defendant to retain the benefit without paying the value
thereof to the plaintiff.” Banner Brf. at 23, quoting, Extraordinary Title Services, LLC v. Florida
Power & Light Co., 1 So0.3d 400, 400 (Fla. 3d DCA 2009), review denied, 2009 WL 690288 (Fla.
Mar 16, 2009). Banner simply challenges the factual allegations related to the first element — that
plaintiff conferred a benefit on the defendant.

In regards to the first element, plaintiffs alleged, “Defendants [Banner] received monies as
a result of Plaintiffs and Class Members’ purchases of Defendants’ defective drywall, or purchase
of homes containing drywall, either directly or through an agent, and Defendants wrongfully
accepted and retained these benefits to the detriment of Plaintiffs and Class Members.” A.Comp,
263. These facts, coupled with plaintiffs’ allegations described above, see Section II, supra at
3-5, lead to the inescapable conclusion that Banner knew that the drywall it supplied to plaintiffs’
builders would be installed in plaintiffs’ homes. Plaintiffs paid their builders for their homes

containing Banner’s drywall installed, which benefit flowed to Banner. Jd.

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Where such facts are expressly alleged, in the current procedural posture of this case, the
facts are assumed to be true. In Peter F. Merkle, M.D., P.A. v. Health Options, Inc., 940 So.2d
1190 (Fla. 4" D.C.A. 2006), review denied, 962 So.2d 336 (Fla. 2007), the court was confronted
with an appeal from an order dismissing the plaintiff's unjust enrichment claim. The plaintiff
provided emergency medical services to the HMO defendants’ subscribers and the plaintiff
claimed that the Defendants’ reimbursement rates for these service were illegal. The HMOs
denied that they received any benefit from the plaintiff. fd. at 1194. The district court agreed
with the HMOs and found as a matter of law that the emergency room patients, not the HMOs were
benefitted by the plaintiff. The Court of Appeals reversed, finding instead:
The trial court should not have considered the ultimate merits of
Merkle’s unjust enrichment claim a the motion to dismiss stage.
Merkle alleged facts sufficient to support its argument that Merkle’s
treatment of the subscribers conferred a benefit on the HMOs.

Id, at 1199.

The Merkle case is more akin to the present case than Extraordinary Title. Just as in
Merkle, plaintiffs have alleged facts that the payment for their drywall or homes containing
Banner’s drywall conferred a benefit on the Defendant.

Banner relies on Extraordinary Title, but that case is distinguishable. In Extraordinary
Title, the plaintiff sued the power company and its corporate parent for collecting taxes the power
company expected to pay but due to accounting practices that included its corporate parent’s
financials, refunds were not obtained and therefore not returned to the plaintiff. Extraordinary
Title, 1 So.3d at 400-401. The court dismissed plaintiff's unjust enrichment claim because the

corporate parent “provided no services to Plaintiff” Jd. at 404. Unlike the power company’s

parent company, Banner provided a service to plaintiffs by supplying the drywail that was installed

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in plaintiffs’ home. Accordingly, Extraordinary Title is inapposite.

Under the far different factual pattern present in this case, dismissal is unwarranted.
Plaintiffs have adequately pleaded a claim for unjust enrichment against Banner.

I. Plaintiffs’ Claims for Injunctive Relief (Count XIV) are Properly Pleaded

Banner seeks to avoid plaintiffs’ claims in equity, including medical monitoring, as
pleaded in Count XIV, by renewing its technical pleading arguments. Banner accuses plaintiffs
of violating Fed.R.Civ.P. 10(b), not because the pleadings were inadequate to place Banner on
notice of the claims, but instead on the grounds that the pleading should be broken down into two
“separate and distinct claims.” Banner Brf. at 27. Again, Banner contends that the 65 page
complaint is not long enough; more is needed.

Plaintiffs disagree that adding more counts to the complaint will effect Banner’s
intransigence or reluctance to answer the complaint. Instead, Plaintiffs submit that their factual
allegations are more than sufficient to support the legal theories advanced in Count XIV. See
L.J. v. Broward County School Bd., 2007 WL 1695333, *5 (S.D-Fla. June 8, 2007)(Moore, J.)(“[E]t
is a well-settled principle of law that a complaint should not be dismissed merely because a
plaintiff's allegations do not support the particular legal theory he advances, for the court is under a
duty to examine the complaint to determine if the allegations provide for relief on any possible
theory.”)(citations omitted). Nevertheless, if the Court deems it necessary, Plaintiffs are readily
able and willing to further plead their claims in a manner that fully satisfies Banners’ current
insistence.

J. Plaintiffs’ Demand for Attorneys Fees is Consistent with the Common Fund
Theory of Federal Law

Banner moves to strike Plaintiffs’ request for attorneys fees from Counts IV, V, VIE, XII,

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and XIV (those counts specifically applicable to Banner). Banner has failed to meet the
requirements of Fed.R.Civ.P. 12(f). As this Court recognized in Perez-Nunez v. North Broward
Hosp. Dist., 2009 WL 723873 (S.D.Fla. March 13, 2009}(Moore, J.), “[mJotions to strike under
Rule 12(f), however, are disfavored, and several courts have characterized such motions as time
wasters, Accordingly, courts generally deny such motions unless the allegations have no possible
relation to the controversy, may confuse the issues, or may cause prejudice to one of the parties."
Id. at *1 (citations omitted).

Here, plaintiffs’ allegations include the following demand: “an award of attorneys’ fees to
class counsel based upon a common fund theory as allowed by Federal law, for the benefits
conferred upon the Class and/or as allowed by contract or statute”. Banner is not prejudiced by
plaintiffs’ contingent demand for fees that Banner acknowledges is “permissible.” Banner Brf. at
28, citing Camden I Condominium Ass’n, Inc. v. Dunkle, 946 F.2d 768 (11™ Cir. 1991).
Irrespective of its contingent claims for class fees, plaintiffs’ demand in its FDUTPA Claim
(Count VY) is entirely appropriate as the statute expressly provides for the recovery of attorneys
fees. Asa result, other courts facing analogous allegations have denied such “time waster”
motions. See Edwards v. Geisinger Clinic, 2009 WL 585470, *7 (M.D.Pa. March 6,
2009)(denying motion to strike where plaintiff's allegations “raise a reasonable expectation that
the Court may, with the benefit of additional facts elicited through discovery, exercise its equitable
authority and award attorneys fees.”); Nova Hills Villas Condominium Ass'n, Inc. v. Aspen
Specialty Ins. Co., 2008 WL 179878, *3 (S.D.Fla. Jan. 21, 2008)(denying motion to strike demand

for attorneys fees)(Torres, J.). This Court should waste no time and deny the motion to strike."

‘Alternatively, if the Court is inclined to grant the motion, then it should only be granted
without prejudice. See LJ. v. Broward County School Bd., 2007 WL 1695333, *5 (S.D.Fla. June

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IV. CONCLUSION

For the reasons set forth above, the motion to stay should be granted on the alternative
grounds that dispositive motions should await a ruling by the JPML and after affording the
transferee court an opportunity to streamline the pleadings. The remaining motions presented by

Banner should be denied.

THEREBY CERTIFY that on May 18, 2009, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to counsel
of record on the attached service list in the manner specified, either via transmission of Notice of
Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or
parties who are not authorized to receive electronically Notices of Electronic Filing.

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8, 2007)(Moore, J.)(“A request for attorney's fees does not need to be in a complaint, so if
Plaintiffs obtain an attorney in the future, they may file a motion for attorney's fees and costs at the
appropriate time.”).

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